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Federal Defenders of Montana
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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         HELENA DIVISION

UNITED STATES OF AMERICA,                          CR 24-26-H-BMM

                Plaintiff,
                                               DEFENDANT ESPINOZA’S
vs.                                             OPPOSED MOTION TO
                                              DISMISS COUNT 2 BECAUSE
BRYANT NICHOLAS ESPINOZA,                       IT VIOLATES DOUBLE
                                                     JEOPARDY
               Defendant.


                                   MOTION

      Defendant Bryant Nicholas Espinoza (Mr. Espinoza), by and through his

counsel of record, Chad Wright, and the Federal Defenders of Montana, hereby

moves to dismiss Count 2 of the Indictment.

      Count 2 alleges that, in violation of 18 U.S.C. §922(g)(8), Mr. Espinoza

knowingly possessed a firearm used in interstate commerce on February 6, 2024,

while knowing he was subject to an active California domestic violence restraining


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order. Mr. Espinoza was previously convicted of Violation of Order of Protection

pursuant to Mont. Code Ann. §45-5-626 for knowingly possessing the same firearm

on February 6, 2024, in violation of the same California restraining order of which

he had notice. State v. Bryant Nicholas Espinoza, Lewis and Clark County Justice

Court, TK-515-2024-722.

      Prosecuting Count 2 violates the Double Jeopardy Clause of the Fifth

Amendment to the United States Constitution. The dual sovereignty doctrine does

not apply because Montana derived its authority to convict Mr. Espinoza under 18

U.S.C. §2265, the Violence Against Women Act (1994).

                                             EXHIBITS

      The following exhibits are attached to this motion for the Court’s review:

      Document                                                                            Exhibit

      August 9, 2021, DV-130 Restraining Order........................................ A

      April 9, 2024, Arrest Ticket .................................................................B

      April 9, 2024, Affidavit of Probable Cause .........................................C

      July 3, 2024, Judgment ....................................................................... D

      July 3, 2024, Change of Plea and Sentencing Hearing ........................ E

                      CONTACT WITH OPPOSING COUNSEL

      Assistant United States Attorney, Paulette L. Stewart, has been contacted

regarding this motion and she objects on behalf of the government.

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                                 CONCLUSION

      WHEREFORE, based on this motion and the brief that supports it, Mr.

Espinoza requests that the Court dismiss Count 2 of the Indictment.

      RESPECTFULLY SUBMITTED this 4th day of February, 2025.

                                            /s/ Chad Wright
                                            CHAD WRIGHT
                                            Assistant Federal Defender
                                            Federal Defenders of Montana
                                            Counsel for Defendant




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                           CERTIFICATE OF SERVICE
                                  L.R. 5.2(b)

         I hereby certify that on February 4, 2025, a copy of the foregoing document

was served on the following persons by the following means:

     1         CM-ECF

     2         Mail

1.       CLERK, UNITED STATES DISTRICT COURT

1.       PAULETTE STEWART
         Assistant United States Attorney
         United States Attorney's Office
         901 Font Street, Suite 1100
         Helena, MT 59626
               Counsel for the United States of America

2.       BRYANT ESPINOZA
             Defendant

                                        /s/ Chad Wright
                                        FEDERAL DEFENDERS OF MONTANA




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